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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )                    8:02CR238
                                                )
       vs.                                      )                     ORDER
                                                )
DONALD H. ASAY,                                 )
TERRY J. SAMOWITZ,                              )
GREGORY W. ENGER and                            )
DONALD A. HEIDEN,                               )
                                                )
                      Defendants.               )


       This matter is before the court following the court’s order to show cause (Filing No.
300). Having been provided with responses by the parties and having found the documents
are no longer needed for the trial of this matter, the court finds the matter is now moot.
Accordingly, Purchase Connection, Custodian of Records, 21540 Plummer Street,
Chatsworth, CA 91311, and Allergan, Inc., Custodian of Records, P.O. Box 19534, Irvine, CA
92612, are relieved of any further obligation under the court’s order to show cause. The clerk
shall notify counsel for Purchase Connection and Allergan, Inc., of this order.
       IT IS SO ORDERED.
       IT IS FURTHER ORDERED:
       Following the transmittal of this order, the clerk shall terminate all Interested Parties on
the docket in this case and cease any further notices to counsel for such parties.
       DATED this 26th day of July, 2005.
                                                    BY THE COURT:
                                                    s/Thomas D. Thalken
                                                    United States Magistrate Judge
